               Case 1:19-cv-21220-JG DocumentCIVIL
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017    1-1 Entered
                                                   COVERon  FLSD Docket 03/29/2019 Page 1 of 2
                                                          SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS PATRICIA MORRISON                                                                          DEFENDANTS ROYAL CARIBBEAN CRUISES, LTD.,
                                                                                                                            A foreign corporation

   (b) County of Residence of First Listed Plaintiff                                                             County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)
   Aronfeld Trial Lawyers
   3132 Ponce de Leon Blvd, Coral Gables, FL 33134
(d) Check County Where Action Arose:                MIAMI- DADE        MONROE         BROWARD           PALM BEACH        MARTIN    ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                             (For Diversity Cases Only)                                        and One Box for Defendant)
    1    U.S. Government                  3                 Federal Question                                                          PTF        DEF                                           PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                            Citizen of This State           1           1     Incorporated or Principal Place          4      4
                                                                                                                                                          of Business In This State

    2    U.S. Government                  4                    Diversity                                Citizen of Another State            2         2   Incorporated and Principal Place          5       5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                        Citizen or Subject of a             3         3   Foreign Nation                            6       6
                                                                                                          Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                                 Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                       FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                PERSONAL INJURY                     625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                            310 Airplane                   365 Personal Injury -                   of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product               Product Liability               690 Other                                28 USC 157                       3729 (a))
  140 Negotiable Instrument                  Liability                 367 Health Care/                                                                                            400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &               Pharmaceutical                                                        PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment              Slander                       Personal Injury                                                      820 Copyrights                     430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’             Product Liability                                                    830 Patent                         450 Commerce
  152 Recovery of Defaulted                  Liability                 368 Asbestos Personal                                                    835 Patent – Abbreviated           460 Deportation
                                                                                                                                                New Drug Application
      Student Loans                     340 Marine                         Injury Product                                                       840 Trademark                      470 Racketeer Influenced and
      (Excl. Veterans)                  345 Marine Product                 Liability                                LABOR                         SOCIAL SECURITY                  Corrupt Organizations
  153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                    710 Fair Labor Standards             861 HIA (1395ff)                   480 Consumer Credit
      of Veteran’s Benefits             350 Motor Vehicle              370 Other Fraud                         Act                              862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits               355 Motor Vehicle              371 Truth in Lending                720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                        Product Liability          380 Other Personal                  740 Railway Labor Act                864 SSID Title XVI                 Exchange
  195 Contract Product Liability        360 Other Personal                 Property Damage                 751 Family and Medical               865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                             Injury                     385 Property Damage                     Leave Act                                                           891 Agricultural Acts
                                        362 Personal Injury -              Product Liability               790 Other Labor Litigation                                              893 Environmental Matters
                                            Med. Malpractice                                               791 Empl. Ret. Inc.                                                     895 Freedom of Information
       REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS                       Security Act                      FEDERAL TAX SUITS                 Act
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                                                          870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                     441 Voting                      463 Alien Detainee                                                          or Defendant)                  899 Administrative Procedure
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                                   871 IRS—Third Party 26             Act/Review or Appeal of
                                                                        Sentence                                                                USC 7609
    240 Torts to Land                   443 Housing/                       Other:                                                                                                  Agency Decision
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -      530 General                            IMMIGRATION                                                         950 Constitutionality of State
                                                                                                                                                                                   Statutes
    290 All Other Real Property             Employment                  535 Death Penalty                  462 Naturalization Application
                                        446 Amer. w/Disabilities -      540 Mandamus & Other               465 Other Immigration
                                            Other                       550 Civil Rights                       Actions
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee –
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
    1    Original          2 Removed         3 Re-filed         4 Reinstated           5   Transferred from              6 Multidistrict         7 Appeal to               8 Multidistrict
         Proceeding          from State        (See VI            or                       another district              Litigation
                                                                                                                                                   District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                               Appellate Court
                             Court             below)             Reopened                 (specify)                     Transfer
                                                                                                                                                   from Magistrate           – Direct
                                                                                                                                                   Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case                 YES         NO             b) Related Cases           YES           NO
RE-FILED CASE(S)                                          JUDGE:                                                                                    DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 1332, 1333 Maritime personal injury cause of action
                                          LENGTH OF TRIAL via 305               days estimated (for both sides to try entire case)
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION
                                                                                                           DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER F.R.C.P. 23
                                                                                                                                                    JURY DEMAND:                      Yes          No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
         March 29, 2019

FOR OFFICE USE ONLY
RECEIPT #                             AMOUNT                    IFP                     JUDGE                                           MAG JUDGE

                                                                Save As...                      Print                       Reset
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                               Authority For Civil Cover Sheet
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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.
       (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section “(see attachment)”.
 II.    Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.      Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature
of suit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.      Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


Date and Attorney Signature. Date and sign the civil cover sheet.
